Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 1 of 13




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 1:21-CV-23727-DPG

  LIL’ JOE RECORDS, INC.,


            Plaintiffs

  v.

  MARK ROSS, CHRISTOPHER WONG
  WON, JR., RODERICK WONG WON,
  LETERIUS RAY, ANISSA WONG WON
  and LUTHER CAMPBELL,

        Defendants
  ___________________________/

               MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO COUNT I
                 FOR DECLARATORY JUDGMENT AS TO THE VALIDITY
                     OF THE COPYRIGHT TERMINATION NOTICE

            Plaintiff, Lil’ Joe Records, Inc. (“Lil’ Joe”), moves this Court pursuant to Fed. R.Civ. P.

  56 for the entry of a Partial Summary Judgment in its favor and against defendants, Mark Ross,

  Christopher Wong Won, Jr., Roderick Wong Won, Leterius Ray, Anissa Wong Won and Luther

  Campbell, as to Count I for declaratory relief as to the validity of the copyright termination notice,

  and as grounds therefore states:

                                                  The Issue

            The Defendants1 are 3 of 4 members of the group 2 Live Crew or their successor in interest.

  All of 2 Live Crew’s members transferred to Luke Records, Inc., their copyright rights to works

  by 2 Live Crew through various contract and bankruptcy proceedings these copyrights were

  transferred Lil’ Joe and its principal, Joseph Weinberger (“Weinberger”). Defendants now want to



  1
      For purposes of this analysis, the Christopher Wong Won heirs are deemed 1 defendant.
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 2 of 13




  terminate that transfer. In order to termination of a prior grant of joint copyrights, a majority of

  the transferors must so elect.      As shown herein for multiple reasons the Defendants cannot

  properly assert termination rights. First, by virtue of their bankruptcy proceedings, all intangible

  rights, including the right to terminate a copyright transfer, are no longer the debtors’ property (in

  this case Luther Campbell, Luke Records, Inc. f/k/a Skyywalker Records, Inc. (“Luke Records”)

  and Mark Ross property.

          Second, none of the Defendants possess termination rights because they were each “Artists

  for Hire” as defined by the Copyright Act.

          Thus, since the appropriate people have not elected to, and provided notice of the copyright

  termination, it is ineffective as a matter of law.

          Luther Campbell, Christopher Wong Won, Jr. and Mark Ross have released any interest

  they have in the copyrights which they had transferred. Finally, the notice of copyright termination

  provided does not contain all of the requisite information. For all of these reasons, Lil’ Joe is

  entitled (as a matter of law) to a declaration that (i) Luther Campbell, Luke Records and Mark

  Ross no longer possess the capacity to terminate the transfer of any copyright they had an interest

  in prior to their respective bankruptcy, (ii) Luther Campbell, Christopher Wong Won, Jr. and Mark

  Ross have released any interest they have in the copyrights at issue so they cannot terminate any

  transfer of it, (iii) all of Defendants were artists for hire, therefore they hold no termination rights;

  and (iv) the copyright termination notice at issue is ineffective to terminate the copyrights assigned

  to Lil’ Joe.

                                     Summary Judgment Standard

          “Summary Judgment may be granted when there are ‘... no genuine issues as to any

  material fact and the moving party is entitled to a judgment as a matter of law.’” Schubot v.



                                                       2
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 3 of 13




  McDonalds Corp., 757 F. Supp. 1351, 1355 (S.D. Fla. 1990); see also Fed. R. Civ. P. 56(c). “The

  mere existence of some factual dispute will not defeat summary judgment unless the factual

  dispute is material to an issue affecting the outcome of the case.” Chapman v AI Transport, 229

  F.3d 1012, 1023 (11th Cir. 2000). “A fact is material if it is an essential element of the cause of

  action.” Schubot, 757 F. Supp. at 1355. “Only disputes over facts that might affect the outcome of

  the suit under the governing law will properly preclude the entry of summary judgment. Factual

  disputes that are irrelevant or unnecessary will not be counted.” Anderson v Liberty Lobby, Inc.,

  477 U.S. 242, 248 (1986). A disputed fact is not material if, “no matter how it is resolved, it does

  not affect the Court's findings as a matter of law.” Barnes v. Burger King Corp., 932 F. Supp.

  1420, 1427 (S.D. Fla. 1996). “The Supreme Court has held that this standard is met if the moving

  party demonstrates that there is 'an absence of evidence to support the non-moving party's case.’”

  Hall v. Burger King Corp., 912 F.Supp. 1509, 1516 (S.D. Fla. 1995)(citing Celotex Corp. v.

  Catrett, 477 U.S. 317 (1986)).

         “Once a moving party has sufficiently supported its motion for summary judgment, the

  non-moving party must come forward with significant, probative evidence demonstrating the

  existence of a triable issue of fact.” Hall, 912 F.Supp. at 1516 (quoting Irby v. Bittick, 44 F.3d 949,

  953 (11th Cir. 1995) which in turn was quoting Chanel, Inc. v. Italian Activewear, Inc., 931 F.2d

  1472, 1477 (11th Cir. 1991)). “The party opposing the motion for summary judgment may not

  simply rest upon mere allegations or denials of the pleadings; the non-moving party must establish

  the essential elements of its case on which it will bear the burden of proof at trial.” Gordon v Target

  Corp., 2008 WL 2557509 *4 (S.D. Fla. June 23, 2008)(citing Celotex Corp. v Catrett, 477 U.S.

  317, 322-323 (1986)); Brown v Crawford, 906 F.2d 667, 670 (11th Cir. 1990). “The failure of

  proof concerning an essential element of the non-moving party’s case necessarily renders all other



                                                    3
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 4 of 13




  facts immaterial and requires the court to grant the motion for summary judgment.” Gordon, 2008

  WL 2557509 at *4.

          “Speculation does not create a genuine issue of fact; indeed, it creates a false issue, the

  demolition of which is a primary goal of summary judgment.” Cordoba v Dillard’s, Inc., 419 F.3d

  1169, 1181 (11th Cir. 2005). “The nonmovant must present more than a scintilla of evidence in

  support of the nonmovant’s position. A jury must be able to reasonably to find for the nonmovant.”

  Gordon, 2008 WL 2557509 at *4 (citing Anderson, 477 U.S. at 249-252). Stated differently, a

  material fact is genuine only “if the evidence is such that a reasonable jury could return a verdict

  for the nonmoving party.” Anderson, 477 U.S. at 248. “Where the record taken as a whole could

  not lead a rational trier of fact to find for the nonmoving party, there is no ‘genuine issue of fact.’”

  Matsushita Electric Industrial Co., Ltd. v Zenith Radio Corp., 475 U.S. 574, 587 (1985).

          “Summary judgment is properly regarded not as a disfavored procedural shortcut, but

  rather as an integral part of the Federal Rules as a whole, which are designed to 'secure the just,

  speedy and inexpensive determination of every action.’” Hall, 912 F.Supp. at 1517 (citing Celotex,

  477 U.S. at 327). “[T]here is no issue for trial unless there is sufficient evidence favoring the

  nonmoving party for a jury to return a verdict for that party. … If the evidence is merely colorable

  … or is not significantly probative … summary judgment may be granted. Anderson, 477 U.S. at

  249 (citations omitted). Because this standard is met, partial summary judgment in Lil’ Joe’s favor

  is mandated on Count I, declaring that defendants cannot and have not properly terminated the

  transfer to Lil’ Joe and Weinberger of the copyright rights to 2 Live Crew’s music.

                                                  Facts

          2 Live Crew was a notorious rap group comprised of 4 members: Luther Campbell,

  Christopher Wong Won, Mark Ross and David Hobbs. Statement of Material Facts in Support of


                                                     4
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 5 of 13




  Moton for Partial Summary Judgment as to Count I for Declaratory Relief as to the Validity of the

  Copyright Termination Notice (“Statement”) at p. 1, ¶ 1. Christopher Wong Won is deceased.

  Christopher Wong Won, Jr., Roderick Wong Won, Leterius Ray and Anissa Wong Won purport

  to be Christopher Wong Won’s surviving children and heirs. Statement at pp. 1-2, ¶ 2. David

  Hobbs has not joined in the attempt at termination.

          Luther Campbell, Christopher Wong Won, Mark Ross and David Hobbs transferred all of

  their copyright rights to 2 Live Crew’s music and trademark rights in 2 Live Crew’s marks and

  cover designs to Luke Records pursuant to various recording artists agreements2. Statement at pp.

  2-3, ¶ 3. In the agreements transferring all of their copyright rights to 2 Live Crew’s music to Luke

  Records, each of Luther Campbell, Christopher Wong Won, Mark Ross and David Hobbs agreed

  that all masters recorded by them, and all reproductions therefrom are Luke Records’ property so

  that, among other things, Luke Records could copyright them as “employer-for-hire of such sound

  recordings….” Statement at pp. 2-3, ¶ 3. Their acknowledgment of “employee for hire” status is

  accurate, as each of them was an employee of Luke Records and 2 Live Crew’s music was prepared

  within the scope of their employment. Statement at pp. 2-3, ¶ 3.

          In 1995 (years after Luther Campbell, Christopher Wong Won, Mark Ross and David

   Hobbs transferred all of their copyright rights to 2 Live Crew’s music and trademark rights in 2

   Live Crew’s marks and cover designs to Luke Records), Luther Campbell and Luke Records

   became the subject of bankruptcy proceedings in the U.S. Bankruptcy Court for the Southern

   District of Florida which were jointly administered (the “Luke Bankruptcy”). Statement at p. 4, ¶



  2
    In Defendant’s Termination Notice, Defendants claim they transferred the rights pursuant to recording agreements
  dated in 1987. But as set forth therein, those agreement do not support Defendants’ position, because the agreements
  are undated, and no specific copyrights are defined therein.

                                                           5
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 6 of 13




   4. Pursuant to the Joint Plan of Reorganization in the Luke Bankruptcy, all of the copyright rights

   to 2 Live Crew’s music and compositions (the “2 Live Crew Copyrights”) and trademark rights in

   2 Live Crew’s marks and cover designs were transferred to Lil’ Joe and its owner, Joseph

   Weinberger, “free and clear of any and all liens, claims, encumbrances, charges, setoffs or

   recoupments of any kind”, thereafter “no royalties, whether as artist, producer, writer, publisher,

   or in any other capacity, on any of the masters or compositions” are due to Luther Campbell or

   Luke Records, and Luther Campbell released, among others, Lil’ Joe and Weinberger including

   “for royalties to be paid in the future” as a result of this transfer. Statement at p. 4, ¶ 5. At no time

   did Christopher Wong Won, Mark Ross or David Hobbs file a claim in the Luke’s Bankruptcy

   Case asserting that they owned or were entitled to any rights to any of the 2 Live Crew Copyrights

   transferred to Lil’ Joe and Weinberger. Statement at p. 4, ¶ 6. The 2 Live Crew Copyrights were

   not abandoned back to Luther Campbell and/or Luke Records. Statement at p. 5, ¶ 7. Lil Joe has

   enjoyed these copyrights ever since.

          In 2002, Christopher Wong Won was sued by Weinberger. Statement at p. 5, ¶ 8.

   Christopher Wong Won, in settling these claims, agreed that Lil’ Joe “own all right, title and

   interest to all copyrights and trademarks previously conveyed to them in the bankruptcy of Luke

   Records and Luther Campbell”, “releases any claims whatsoever to those works”, and further

   agreed that “he has no further claims to any royalties to any of the works owned by” Lil’ Joe.

   Statement at p. 5, ¶ 8. As a result of that settlement, Christopher Wong Won further released Lil

   Joe and Weinberger from, among other things, “[a]ll royalties, profits and other monies or

   payments at any time, directly or indirectly, due or to become due”, “[a]ll rights to sue for

   infringements”, and all rights to terminate. Statement at p. 5, ¶ 8.


                                                      6
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 7 of 13




          On November 22, 2000, Mark Ross filed a bankruptcy in the U.S. Bankruptcy Court for

   the Northern District of Alabama (the “Ross Bankruptcy”). Statement at p. 5, ¶ 9. In the Ross

   Bankruptcy, an adversary proceeding was commenced by Lil’ Joe against Mark Ross and, in

   settling that claim, Mark Ross acknowledged that, other than writer’s performance rights (which

   are not relevant to this proceeding), “he has no rights (master or publishing) to any previous

   recordings owned by Lil’ Joe Records, Inc. … and The 2 Live Crew name which were previously

   owned by Luther Campbell and Luke Records…. Additionally, Debtor [(Mark Ross)] has no rights

   (master or publishing) in any other recordings owned by Lil’ Joe Records, Inc.” Statement at pp.

   5-6, ¶ 9.

          On or about November 4, 2020, each of the Defendants provided notice that they were

   purporting to terminate their copyright grants in the 2 Live Crew Copyrights pursuant to 17 U.S.C.

   §203 (the “Termination Notice.”). Statement at p. 6, ¶ 10.

                 Declaration That Termination Of The Copyright Transfer Is Ineffective

           Since there were 4 members of 2 Live Crew, there must be 3 members seeking termination.

  As shown herein, none of the Defendants have valid termination rights. Luther Records, Luther

  Campbell and Mark Ross lost their termination rights in their bankruptcy. Mark Ross and

  Christopher Wong Won relinquished their termination right in settlement agreements with Lil’ Joe

  and Luke Campbell, Christopher Wong Won and Mark Ross were each “artist” for “hire” and thus

  they have no rights of termination. For all of these reasons, the Termination Notice is ineffective.


           (i)       Luther Campbell’s And Mark Ross’ Bankruptcies Divested Them Of Any Interest
                     They Have In The 2 Live Crew Copyrights Including Any Ability To Terminate
                     The Transfer Of The 2 Live Crew Copyrights




                                                   7
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 8 of 13




         “In the case of any work other than a work made for hire, the exclusive or nonexclusive

  crew members, grant of a transfer or license of copyright or of any right under a copyright … is

  subject to termination under the following conditions…” 17 USC §203 (a) (emphasis added). “In

  the case of a grant executed by two or more authors of a joint work, termination of the grant may

  be effected by a majority of the authors who executed it….” 17 USC §203 (a)(1) (emphasis added).

         Since the grant of the 2 Live Crew Copyrights to Lil’ Joe and Weinberger, which are the

  rights sought to be terminated, was by Luther Campbell and Luke Records by virtue of the Luke

  Bankruptcy, then the termination must be effected by those holding the rights of Luther Campbell

  and Luke Records (both being necessary to create the requisite majority). 17 USC §203 (a)(1)).

  That did not occur for two reasons.

         First, quite simply, Luke Records did not join in the Termination Notice.

         Second, any legal or equitable interest that Luther Campbell and Luke Records had in the

  2 Live Crew Copyrights, whatever they are, remain the property of their bankruptcy estates

  represented by their bankruptcy trustee. “A debtor’s bankruptcy petition creates a legal fiction

  known as a ‘bankruptcy estate’ into which the debtor (or trustee appointed to run the debtor’s

  estate) places all of his assets.’ … ‘All the ‘legal or equitable interests’ the debtor had in his

  property pre-petition become property of the bankruptcy estate and are represented by the

  bankruptcy trustee.’” Cardwell v Bankruptcy Estate of Joel Spivey (In re Douglas Asphalt

  Co.), 483 BR 560, 571 (Bankr. S.D. Ga. 2012)(citation omitted); Russ v Jackson County School

  Board, 530 F.Supp. 3d 1074, 1079 (N.D. Fla. 2021)(“When a debtor files a [bankruptcy] petition,

  his assets, with specified exemptions, are immediately transferred to a bankruptcy estate.”); 11

  USC §541(a)(1). Bankruptcy Code “Section 541(a)(1) ‘is all-encompassing, and Congress meant

  for it to be construed commensurately.’” Russ, 530 F.Supp 3d at 1079. “The Bankruptcy Code



                                                  8
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 9 of 13




  defines a bankrupt’s estate broadly to encompass all kinds of property, including

  intangibles….” Id. at 1080.

          “Under section 541(a)(1), the debtor’s bankruptcy estate is comprised of ‘all legal or

  equitable interests of the debtor in property as of the commencement of the case.’ 11 USC

  §541(a)(1). Section 541 of the Bankruptcy Code provides that virtually all of a debtor’s assets,

  both tangible and intangible, vest in the bankruptcy estate upon the filing of a bankruptcy

  petition.” Russ, 530 F.Supp 3d at 1079-80. “A debtor’s failure to list a claim or cause of action ‘on

  a bankruptcy schedule leaves that interest in the bankruptcy estate.’” Id. at 1082. “Once an asset

  becomes part of the bankruptcy estate, all rights held by the debtor in the asset are extinguished

  unless the asset is abandoned back to the debtor pursuant to § 554 of the Bankruptcy Code.” Id.

  The 2 Live Crew Copyrights were not abandoned by the bankruptcy trustees back to Luther

  Campbell and Luke Records. To the contrary they were transferred to Lil’ Joe. Statement at p. 5,

  ¶ 7. “After the bankruptcy case has been closed, ‘property of the estate that is not administered in

  the bankruptcy proceedings remains the property of the estate.’” Russ, 530 F.Supp 3d at 1082.

  Consequently, as a result of the Luke Bankruptcy, whatever interest Luther Campbell and Luke

  Records had in the 2 Live Crew Copyrights, including, but not limited to, any termination rights,

  are not theirs to exercise.

          “Because a Chapter 7 debtor forfeits his prepetition assets to the estate, only the Chapter 7

  trustee, not the debtor, has standing to pursue” that asset. Russ, 530 F.Supp 3d at 1082. “A

  bankruptcy ‘trustee, as representative of the bankruptcy estate, is the only proper party in interest,

  and is the only party’ who can pursue these interests. Id. Accordingly, it is the trustee of the Luke

  Bankruptcy, not Luther Campbell, who can elect to terminate the 2 Live Crew Copyrights.




                                                    9
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 10 of 13




          In the event that the grant of the 2 Live Crew Copyrights is deemed to have been provided

   by Luther Campbell, Christopher Wong Won, Mark Ross and David Hobbs, the Termination

   Notice would likewise be ineffective. To be valid, the Termination Notice would require the assent

   of 3 of the 4 members of 2 Live Crew in order to constitute a majority. 17 USC §203 (a)(1). The

   Termination Notice is signed by Luther Campbell, Mark Ross and the representatives of the

   deceased Christopher Wong Won. As previously discussed, Luther Campbell no longer possesses

   that right to exercise it. Supra at pp 7-8. Mark Ross suffers from the same infirmity due to the Ross

   Bankruptcy. Id. No matter how you cut it, the Termination Notice is ineffective.

          “[A]ny court of the United States, upon the filing of an appropriate pleading, may declare

   the rights and other legal relations of any interested party seeking such declaration, whether or not

   further relief is or could be sought.” 28 USC §2201(a). “The purpose behind the Declaratory

   Judgment Act is to afford a form of relief from uncertainty and insecurity with respect to rights,

   status and other legal relations.” Rozier v Hartford Insurance Co. of the Midwest, 2014 U.S. Dist.

   LEXIS 166461 * 10 (S.D. Fla. Dec. 1, 2014). Declaratory relief is justified when “it will serve a

   useful purpose to clarify and settle the parties’ rights.” Id. Here, declaratory relief will resolve the

   parties’ dispute over whether the Termination Notice is effective to terminate the transfer of the 2

   Live Crew Copyrights. Defendants acknowledge that declaratory relief is appropriate, having

   sought it themselves on the same question. Answer and Counterclaim [DE 12] at pp. 13-17.

          (ii)    Luther Campbell, Christopher Wong Won And Mark Ross Have Released Any
                  Interest They Have In The 2 Live Crew Copyrights So They Cannot Terminate Any
                  Transfer Of It

          Each of Luther Campbell, Christopher Wong Won and Mark Ross released any claim “for

   royalties to be paid in the future” as a result of the transfer of the 2 Live Crew Copyrights,

   Statement at pp. 3-4, ¶ 5 (Luther Campbell), “[a]ll royalties, profits and other monies or payments



                                                     10
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 11 of 13




   at any time, directly or indirectly, due or to become due in connection with, relating to or in respect

   of” the 2 Live Crew Copyrights, Statement at p. 5, ¶ 8 (Christopher Wong Won), and “no rights

   (master or publishing) to any previous recordings owned by Lil’ Joe Records, Inc. and Lil Joe

   Wein Music, Inc. and The 2 Live Crew name which were previously owned by Luther Campbell

   and Luke Records [and] has no rights (master or publishing) in any other recordings owned by Lil’

   Joe Records, Inc”, Statement at p. 5, ¶ 9 (Mark Ross). “A release is an outright cancellation or

   discharge of the entire obligation….” Rosen v Florida Ins. Guaranty Association, 802 So. 2d 291, 295 (Fla.

   2001); In re: Stein Mart, Inc., 629 B.R. 516, 523 (Bankr. M.D. Fla. 2021). Having released any right to the

   2 Live Crew Copyrights and the royalties therefrom, each of Luther Campbell, Christopher Wong Won

   and Mark Ross have “outright cancel[ed] or discharged” anything related to the 2 Live Crew

   Copyrights, therefore extinguishing any ability to terminate their transfer which would recover

   rights or royalties they have relinquished.


           (iii)   The 2 Live Crew Copyrights Were Each Works Made For Hire Whose Transfer
                   Cannot Be Terminated

           The transfer of a copyright in a “work made for hire” is not subject to termination. 17 USC

   §203(a)(“In the case of any work other than a work made for hire….”); Ennio Morricone Music

   Inc. v Bixio Music Group Ltd., 936 F.3d 69, 73 (2nd Cir. 2019). “A ‘work made for hire’ is … a

   work prepared by an employee within the scope of his or her employment….” 17 USC §101. This

   requirement to qualify a work as a ‘work made for hire’ is straightforward and easy to apply.

   Ennio, 936 F.3d at 73.

           Luther Campbell, Christopher Wong Won, Mark Ross and David Hobbs each agreed in

   the recording contracts at issue that the 2 Live Crew Copyrights were works made for hire.

   Statement at p. 2, ¶ 3. Their acknowledgment is accurate, as each of them was an employee of

   Luke Records and the 2 Live Crew Copyrights were prepared within the scope of their

                                                       11
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 12 of 13




   employment. Statement at pp. 2-3, ¶ 3. “In the case of a work made for hire, the employer or other

   person for whom the work was prepared is considered the author for purposes of this title, and,

   unless the parties have expressly agreed otherwise in a written instrument signed by them, owns

   all of the rights comprised in the copyright.” 17 USC §201(b).

            (iv)     Even If The Defendants Could Terminate The Transfer Of The 2 Live Crew
                     Copyrights, The Termination Notice Is Defective.

            A notice of termination pursuant to 17 U.S.C. §203 “must include a clear identification of”,

   among other things, “[t]he date of execution of the grant being terminated and, if the grant covered

   the right of publication of a work, the date of publication of the work under the grant.” 37 CFR

   201.10(b)(2)(iii). “Clear identification” of this information “requires a complete and unambiguous

   statement of facts in the notice itself, without incorporation by reference of information in other

   documents or records.” 37 CFR 201.10(b)(3). The Termination Notice fatally neglects to include

   this necessary information.3

                                                    CONCLUSION

            For the foregoing reasons, this Court should enter a partial summary judgment in favor of

   Lil’ Joe Records, Inc. and against Mark Ross, Christopher Wong Won, Jr., Roderick Wong Won,

   Leterius Ray, Anissa Wong Won and Luther Campbell, and declaring that (i) Luther Campbell,

   Luke Records, Inc. and Mark Ross no longer possess the capacity to terminate any copyright they

   had an interest in prior to their respective bankruptcy, (ii) Luther Campbell, Christopher Wong

   Won and Mark Ross have released any interest they have in the copyrights at issue so they cannot

   terminate any transfer of it, (iii) the copyrights at issue are works made for hire which cannot be

   terminated, and, for the foregoing and other reasons, (iv) defendants have not terminated the


   3
       To the extent that Defendants rely upon a undated contract effective 1/1/87, that contract cannot support the
   termination rights because it is undated and there is no description of the Copyrights being transferred See Sec 201.10
   (b) (2) (111).

                                                            12
Case 1:21-cv-23727-DPG Document 30 Entered on FLSD Docket 09/23/2022 Page 13 of 13




   transfer to Lil’ Joe Records, Inc. and Joe Weinberger of the copyright rights to 2 Live Crew’s music

   by the Termination Notice.

                                                 WOLFE LAW MIAMI PA
                                                 175 SW 7th Street, Suite 2410
                                                 Miami, Florida 33130
                                                 P: 305.384.7370
                                                 F: 305.384.7371
                                                 Email: rwolfe@wolfelawmiami.com

                                                 By:    /s/ Richard C. Wolfe __
                                                        Richard C. Wolfe, Esq.
                                                        Florida Bar No.: 355607

                                   CERTIFICATE OF SERVICE

           I hereby certify that on September 21, 2022, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel of record identified on the attached Service List in the manner
   specified, either via transmission of Notice of Electronic Filing generated by CM/ECF or in some
   other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notice of Electronic Filing.

          Scott Burroughs, Esq.
          DONIGER BURROUGHS
          603 Rose Avenue
          Venice, California 95692
          scott@donigerlawfirm.com

          Joel Rothman, Esq.
          SRIP LAW
          21301 Powerline Road, Suite 400
          Boca Raton, Florida 33433
          Joel@sriplaw.com
                                                        /s/ Richard C. Wolfe
                                                        Richard C. Wolfe




                                                   13
